     Case 2:16-cv-01494-MRW Document 10 Filed 04/13/16 Page 1 of 1 Page ID #:35




 1                      UNITED STATES DISTRICT COURT
 2
                       CENTRAL DISTRICT OF CALIFORNIA
 3

 4
     TROY KELLY,                                 ) Case No. 2:16-cv-01494-MRW
 5
                                                 )
 6   Plaintiff,                                  ) ORDER
 7
                                                 )
            vs.                                  )
 8                                               )
 9
     ATLANTIC CREDIT AND                         )
     FINANCE, INC.,
                                                 )
10
     Defendant.                                  )
11                                               )
12

13          IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
14   to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
15   41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
16   their own costs and attorneys’ fees.
17

18                                          Dated this _13_day of April, 2016.
19

20

21                                          _/S/Michael R. Wilner_________
                                            The Honorable Michael R. Wilner
22

23

24

25

26

27

28




                                        Order to Dismiss - 1
